                                                 Case 3:09-cv-05718-RS Document 256 Filed 03/04/22 Page 1 of 1


  UNITED STATES DISTRICT COURT                                                                             TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                                 Please use one form per court reporter.                                                               DUE DATE:
                 CAND 435                                                                             CJA counsel please use Form CJA24
             (CAND Rev. /20)                                                                  Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                                    3. CONTACT EMAIL ADDRESS
Julia Griffin                                                                   (310) 203-7921                                                                jkgriffin@irell.com
1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                                   3. ATTORNEY EMAIL ADDRESS
Yanan Zhao                                                                       (310) 203-7065                                                               yzhao@irell.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                     5. CASE NAME                                                                              6. CASE NUMBER
Irell & Manella, LLP
1800 Avenue of the Stars, Suite 900                                                                            Netlist, Inc. v. Google LLC                                                               3:09-cv-05718
Los Angeles, CA 90067
                                                                                                              8. THIS TRANSCRIPT ORDER IS FOR:
7.COURT REPORTER NAME RUHQWHU5(&25'('DQGVWDUWVWRSWLPHV                         ✔                    ޫ APPEAL           ޫ CRIMINAL         ޫ In forma pauperis (NOTE: Court order for transcripts must be attached)
Recorded | 2:02 - 3:32 pm                                                                                     ޫ NON-APPEAL       ✔ CIVIL
                                                                                                                                 ޫ                  CJA: Do not use this form; use Form CJA24.


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

                                                                                             b.       SELECT FORMAT(S) (NOTE: ECF access is included
 a.     HEARING(S) (OR PORTIONS OF HEARINGS)                                                                                                                c.        DELIVERY TYPE ( Choose one per line)
                                                                                                      with purchase of PDF, text, paper or condensed.)

      DATE          JUDGE             TYPE                    PORTION                           PDF        TEXT/ASCII    PAPER   CONDENSED    ECF ACCESS   ORDINARY       14-Day   EXPEDITED    3-DAY     DAILY      HOURLY     REALTIME
                                                 If requesting less than full hearing,        (email)        (email)               (email)       (web)     (30-day)                 (7-day)             (Next day)    (2 hrs)
                     (initials)    (e.g. CMC)   specify portion (e.g. witness or time)

03/03/2022            RS           Motion                                                         {           {           {          {           {           {             {         {          {         {            {          {
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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                                 12. DATE
11. SIGNATURE
                 /s/ Yanan Zhao                                                                                                                                                      03/04/2022


         Clear Form                                                                                                                                                                             Save as new PDF
